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                                   4                                     UNITED STATES DISTRICT COURT

                                   5                                    NORTHERN DISTRICT OF CALIFORNIA

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                                   7     UNITED STATES OF AMERICA,                          Case No. 19-cr-00429-SI-1
                                                           Plaintiff,
                                   8
                                                                                            ORDER FOR RELEASE FROM
                                                      v.                                    UNITED STATES MARSHAL
                                   9
                                                                                            CUSTODY
                                  10     JESUS ALFREDO RODRIGUEZ FLORES,
                                                           Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13           On December 6, 2024, the Defendant, Jesus Alfredo Rodriguez Flores was sentenced to

                                  14   time served plus one court day. The defendant is ordered released from the custody of the United

                                  15   States Marshal Custody at 450 Golden Gate Avenue, San Francisco, CA on Monday December 9,

                                  16   2024.

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                                  18           IT IS SO ORDERED.

                                  19   Dated: December 6, 2024

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                                                                                         SUSAN ILLSTON
                                  21                                                     United States District Judge
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